     Case 6:19-ap-01050-MH           Doc 43 Filed 01/06/20 Entered 01/06/20 15:04:09                         Desc
                                      Main Document Page 1 of 2



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 4
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 5                                                                               CLERK U.S. BANKRUPTCY COURT
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 6                                                                               BY cargill   DEPUTY CLERK



 7
 8                              UNITED STATES BANKRUPTCY COURT

 9                               CENTRAL DISTRICT OF CALIFORNIA

10                                         RIVERSIDE DIVISION
11
12
      In re                                                    Case No.: 6:19-bk-10279-MH
13
      THOMAS MOUNT,                                            Adv. Pro. No.: 6:19-ap-01050-MH
14
15                    Debtor.                                  Before the Honorable Mark Houle

16    JONATHAN BAKER & BAKER                                   Chapter 7
      ENTERTAINMENT GROUP,
17                                                             ORDER GRANTING STIPULATION
                      Plaintiffs,                              FOR NON-WAIVER OF ATTORNEY-
18                                                             CLIENT PRIVILEGE AND WORK
      v.                                                       PRODUCT PROTECTION (FED. R.
19
                                                               EVID. 502(D) AND (E))
20    THOMAS MOUNT,

21                    Defendant

22
23            The Court has considered the STIPULATION FOR NON-WAIVER OF ATTORNEY-

24   CLIENT PRIVILEGE AND WORK PRODUCT PROTECTION (FED. R. EVID. 502(D)
25   AND      (E))   (“Stipulation”),    between     Plaintiff,   JONATHAN          BAKER         &    BAKER
26
     ENTERTAINMENT GROUP and Defendant, THOMAS MOUNT:
27
28

                                                         1
     Case 6:19-ap-01050-MH       Doc 43 Filed 01/06/20 Entered 01/06/20 15:04:09    Desc
                                  Main Document Page 2 of 2



 1        Based upon the Stipulation and good cause appearing therefor, the Stipulation is
 2   APPROVED.
 3
          IT IS SO ORDERED.
 4
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26       Date: January 6, 2020
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